              Case 2:23-cv-00932-JHC Document 87 Filed 10/18/23 Page 1 of 3




 1                                                                          The Honorable John H. Chun

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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7

 8    FEDERAL TRADE COMMISSION,
                                                            No. 2:23-cv-00932-JHC
 9                              Plaintiff,
                                                            DECLARATION OF JOSEPH A.
10           v.                                             REITER IN SUPPORT OF
                                                            DEFENDANTS AMAZON.COM,
11    AMAZON.COM, INC., et al.,                             INC.’S, NEIL LINDSAY’S,
                                                            RUSSELL GRANDINETTI’S,
12                              Defendants.                 AND JAMIL GHANI’S
                                                            REQUEST FOR JUDICIAL
13                                                          NOTICE IN SUPPORT OF
                                                            THEIR MOTIONS TO DISMISS
14                                                          AMENDED COMPLAINT
15

16           I, Joseph A. Reiter, declare as follows:

17           1.      I am a partner at the law firm Hueston Hennigan LLP, counsel for Defendants

18    Amazon.com, Inc., Neil Lindsay, Russell Grandinetti, and Jamil Ghani in the above-captioned

19    case. To the best of my knowledge, the matters set forth herein are true and correct and, if

20    called as a witness, I could and would testify competently thereto.

21           2.      I submit this declaration in support of Defendants’ Request for Judicial Notice in

22    Support of Their Motions to Dismiss Amended Complaint.

23           3.      Exhibit 1 is a true and accurate excerpt of Volume 88 of the Federal Register

24    (the FTC’s Proposed Negative Option Rule) which is available at https://www.govinfo.gov/

25    content/pkg/FR-2023-04-24/pdf/2023-07035.pdf. The FTC’s Proposed Negative Option Rule

26    is also available on the FTC’s website at

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                                                                                  Davis Wright Tremaine LLP
     DECLARATION OF JOSEPH A. REITER                                                       L AW O FFICE S
                                                                                     1201 Third Avenue, Suite 2200
     (2:23-cv-00932-JHC) - 1                                                           Seattle, WA 98101-3045
                                                                                206.622.3150 main · 206.757.7700 fax
              Case 2:23-cv-00932-JHC Document 87 Filed 10/18/23 Page 2 of 3




 1    https://www.ftc.gov/system/files/ftc_gov/pdf/p064202_ negative_option_nprm.pdf. Both links

 2    were last accessed on October 18th, 2023.

 3           4.      Exhibit 2 contains a true and accurate screenshot of the webpage located at

 4    https://www.ftc.gov/sites/default/files/attachments/press-releases/ftc-staff-revises-online-

 5    advertising-disclosure-guidelines/130312dotcomdisclosures.pdf. This screenshot was captured

 6    on October 17, 2023.

 7           5.      Exhibit 3 is a true and accurate excerpt of Volume 86 of the Federal Register

 8    (the FTC’s Enforcement Policy Statement Regarding Negative Option Marketing), which is

 9    available at https://www.govinfo.gov/content/pkg/FR-2021-11-04/pdf/2021-24094.pdf. The

10    FTC’s Enforcement Policy Statement Regarding Negative Option Marketing is also available

11    on the FTC’s website at https://www.ftc.gov/system/files/documents/public_statements/

12    1598063/negative_option_policy_statement-10-22-2021-tobureau.pdf. Both links were last

13    accessed on October 18th, 2023.

14           6.      Exhibit 4 contains a true and accurate screenshot of the webpage located at

15    https://www.ftc.gov/news-events/news/press-releases/2022/06/ftc-looks-modernize-its-

16    guidance-preventing-digital-deception. This screenshot was captured on October 17, 2023.

17           7.      Exhibit 5 contains a true and accurate screenshot of an FTC tweet located at

18    https://twitter.com/FTC/status/222418552190287873. This screenshot was captured on

19    October 17, 2023.

20           8.      Exhibit 6 contains a true and accurate copy of a letter from State Attorneys

21    General to the FTC’s Acting Secretary regarding the proposed Negative Option Rule, available

22    at https://ag.ny.gov/sites/default/files/comment_letter_of_23_state_attorneys_general_project_

23    no._p064202_negative_option_rule_16_cfr_425_12.2.19.pdf. This link was last accessed on

24    October 18, 2023.

25           9.      Exhibit 7 contains a true and accurate copy of FTC Commissioner Phillips’s

26    dissenting statement in In the Matter of MoviePass, Inc., available at https://www.ftc.gov/

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              Case 2:23-cv-00932-JHC Document 87 Filed 10/18/23 Page 3 of 3




 1    system/files/documents/public_statements/1590712/moviepass_statement_phillips_final.pdf.

 2    This link was last accessed on October 18, 2023.

 3           10.    Exhibit 8 contains a true and accurate screenshot of the webpage located at

 4    https://www.ftc.gov/news-events/news/press-releases/2021/02/ftc-hold-virtual-workshop-

 5    exploring-digital-dark-patterns. This screenshot was captured on October 17, 2023.

 6           11.    Exhibit 9 contains a true and accurate screenshot of the webpage located at

 7    https://www.ftc.gov/news-events/news/press-releases/2021/04/ftc-seeks-public-comment-dark-

 8    patterns-topics-ahead-workshop. This screenshot was captured on October 17, 2023.

 9           12.    Exhibit 10 contains a true and accurate screenshot of the webpage located at

10    https://www.ftc.gov/news-events/events/2021/04/bringing-dark-patterns-light-ftc-workshop.

11    This screenshot was captured on October 17, 2023.

12           13.    Exhibit 11 contains a true and accurate copy of the transcript of the FTC’s Dark

13    Patterns Workshop, available at https://www.ftc.gov/system/files/documents/public_events/

14    1586943/ftc_darkpatterns_workshop_transcript.pdf. This link was last accessed on October 18,

15    2023. This document can also be accessed from the accessed by clicking a link in Exhibit 10

16    labeled “Dark Patterns Transcript,” located under “Transcripts.”

17           14.    Exhibit 12 contains a true and accurate copy of FTC Commissioner Slaughter’s

18    Dissenting Statement in In the Matter of FTC v. Facebook, which is available at

19    https://www.ftc.gov/system/files/documents/public_statements/1536918/182_3109_slaughter_s

20    tatement_on_facebook_7-24-19.pdf. This link was last accessed on October 18, 2023.

21    Exhibit 13 contains a true and correct copy of the FTC Staff Report titled “Bringing Dark

22    Patterns to Light,” available at https://www.ftc.gov/system/files/ftc_gov/pdf/P214800%20Dark

23    %20Patterns%20Report%209.14.2022%20-%20FINAL.pdf. This link was last accessed on

24    October 18, 2023.

25           Executed on this 18th day of October, 2023, in Newport Beach, California.

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27                                                                Joseph A. Reiter
                                                                              Davis Wright Tremaine LLP
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